       Case 8:19-cv-01944-SAG           Document 286        Filed 05/27/25      Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

                         DEFENDANTS’ MOTION FOR LEAVE TO FILE
                                   DECLARATION OUT OF TIME

       Defendants request leave to file the declaration, ECF No. 285-1, ordered by this Court on

May 20, 2025, out of time. The Court in its May 20, 2025 Order directed Defendants to file “a

declaration from an individual with personal knowledge” addressing : (1) Cristian’s current

physical location and custodial status; (2) what steps, if any, Defendants have taken to facilitate

Cristian’s return to the United States; and (3) what additional steps Defendants will take, and when,

to facilitate Cristian’s return.” See ECF No. 280. The Court also directed Defendants to file said

declaration by “5 PM ET on Tuesday, May 27, 2025.” Id. Due to unexpected delays, Defendants

filed said declaration at 6:10 PM ET on Tuesday, May 27, 2025.” See ECF No. 285. Defendants

regret the delay and any inconvenience caused to the Court and Class Counsel.

       A proposed order is attached to this filing.

//
      Case 8:19-cv-01944-SAG   Document 286     Filed 05/27/25     Page 2 of 3




Dated: May 27, 2025                Respectfully submitted,


                                    YAAKOV M. ROTH
                                    Acting Assistant Attorney General
                                    Civil Division

                                    WILLIAM C. PEACHEY
                                    Director
                                    Office of Immigration Litigation

                                    YAMILETH G. DAVILA
                                    Assistant Director

                                    ERHAN BEDESTANI
                                    Trial Attorney

                                    /s/Richard Ingebretsen
                                    RICHARD G. INGEBRETSEN
                                    Trial Attorney (DC Bar No. 1736200)
                                    U.S. Department of Justice
                                    Civil Division
                                    Office of Immigration Litigation
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, DC 20044
                                    Telephone: (202) 616-4848
                                    Fax: (202) 305-7000
                                    richard.ingebretsen@usdoj.gov

                                   Attorneys for Defendants




                                      2
      Case 8:19-cv-01944-SAG          Document 286        Filed 05/27/25       Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

                                                     /s/ Richard Ingebretsen
                                                     Richard Ingebretsen
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Civil Division
                                                     Office of Immigration Litigation

                                                     Attorney for Defendants




                                               3
